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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE


    In re:                                                 Chapter 11
    SUGARFINA, INC.,                                       Case No. ________________


                   Debtor.



                      CORPORATE OWNERSHIP STATEMENT
                             [FRBP 1007(a)(1) and 7007.1]
       _____________________________________________________________________


 Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
 following are corporations, other than a governmental unit, that directly or indirectly own 10%
 or more of any class of the Debtor’s equity interest, or states that there are no entities to report
 under FRBP 7007.1:


           Shareholder                  Class and Number of Shares               Approximate
         Name and Address                                                         Percentage
                                                                                     Held
GHP Sugarfina Holdings LLC          Series BB-2 Preferred: 833,302           Outstanding Shares:
                                    Series BB Preferred: 4,999,809                5,833,111
                                                                                Outstanding
                                                                            Ownership: 24.9375%
GHP Sugarfina Holdings LLC          Common Stock:       2,292                Outstanding Shares:
                                                                                    2,292
                                                                                Outstanding
                                                                             Ownership: .0098%
GHP Sugarfina Holdings LLC          Common Stock: 798,849                   Outstanding Shares:
                                                                                  798,849
                                                                               Outstanding
                                                                            Ownership: 3.4152%
GHP Sugarfina Holdings LLC          Common Stock: 32,160                     Outstanding Shares:
                                                                                   32,160
                                                                                Outstanding
                                                                             Ownership: .1375%




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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


       In re:                                          Chapter 11
       SUGARFINA, INC.,                                Case No. ________________


                    Debtor.



                          LIST OF EQUITY SECURITY HOLDERS
          _____________________________________________________________________


       Shareholder              Class           Approximate Shares     Approximate Percentage
     Name and Address                                 Held                     Held
See attached.
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     Name and Address                                 Class and Number of Shares                                 Total Outstanding

A + A Stein Revocable Trust   Common Stock:                                                                 Outstanding Shares: 60,957
613 16th St                   Series AA-1:                                                                 Outstanding Ownership: .2606%
Santa Monica, CA 90402        Series AA Preferred:
                              Series B-2 Preferred:
                              Series BB-2 Preferred:
                              Series BB Preferred:
                              Series A Preferred: 60,957
                              Series A-1 Preferred:
                              Series B Preferred:
                              Options and RSU Outstanding Under 2016 Stock Option Plan:
                              Options and RSU Outstanding Under Friends/Family:
                              Series B-2 Preferred Warrants:
                              Series A-2 Preferred Warrants:

Abigail Jariwuala             Common Stock:                                                                     Outstanding Shares:
5307 Maywood Ave #W           Series AA-1:                                                                 Outstanding Ownership: .0 %
Maywood, CA 90270             Series AA Preferred:
                              Series B-2 Preferred:
                              Series BB-2 Preferred:
                              Series BB Preferred:
                              Series A Preferred:
                              Series A-1 Preferred:
                              Series B Preferred:
                              Options and RSU Outstanding Under 2016 Stock Option Plan:   500
                              Options and RSU Outstanding Under Friends/Family:
                              Series B-2 Preferred Warrants:
                              Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                 Total Outstanding

Alexandra Guardado      Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   187
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Alison Brod             Common Stock: 76,923                                                          Outstanding Shares: 111,398
870 Fifth Ave           Series AA-1:                                                                 Outstanding Ownership: .4762%
New York, NY 10065      Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred: 34,475
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                 Total Outstanding

Allison Stewart         Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   1,000
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Amy H Gutschenritter    Common Stock:                                                                 Outstanding Shares: 30,479
14 Clubhouse Lane       Series AA-1:                                                                 Outstanding Ownership: .1303%
Wayland, MA 01778       Series AA Preferred: 30,479
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                 Total Outstanding

Amy Yarborough          Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   500
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Andrea Estrada          Common Stock: 1,481                                                            Outstanding Shares: 1,481
1531 Walnut Ave         Series AA-1:                                                                 Outstanding Ownership: .0063%
Venice, CA 90291        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                 Total Outstanding

Andrea Estrada          Common Stock: 6,777                                                           Outstanding Shares: 6,777
1531 Walnut Ave         Series AA-1:                                                                 Outstanding Ownership: .029 %
Venice, CA 90291        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Angela Vasone           Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   1,000
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                Total Outstanding

Anna Swiatek            Common Stock:                                                                     Outstanding Shares:
10513 S. Avenue J       Series AA-1:                                                                 Outstanding Ownership: .0 %
Chicago, IL 60617       Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   1,000
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Annabelle Gagnon        Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   500
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                                 Class and Number of Shares                                 Total Outstanding

Anthony Marguleas             Common Stock: 19,231                                                          Outstanding Shares: 19,231
1031 Kagawa St                Series AA-1:                                                                 Outstanding Ownership: .0822%
Pacific Palisades, CA 90272   Series AA Preferred:
                              Series B-2 Preferred:
                              Series BB-2 Preferred:
                              Series BB Preferred:
                              Series A Preferred:
                              Series A-1 Preferred:
                              Series B Preferred:
                              Options and RSU Outstanding Under 2016 Stock Option Plan:
                              Options and RSU Outstanding Under Friends/Family:
                              Series B-2 Preferred Warrants:
                              Series A-2 Preferred Warrants:

Armene Galstyan               Common Stock:                                                                     Outstanding Shares:
                              Series AA-1:                                                                 Outstanding Ownership: .0 %
                              Series AA Preferred:
                              Series B-2 Preferred:
                              Series BB-2 Preferred:
                              Series BB Preferred:
                              Series A Preferred:
                              Series A-1 Preferred:
                              Series B Preferred:
                              Options and RSU Outstanding Under 2016 Stock Option Plan:   500
                              Options and RSU Outstanding Under Friends/Family:
                              Series B-2 Preferred Warrants:
                              Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                Total Outstanding

Ashley Taylor           Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   500
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Ashlyn Killham          Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   177
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                             Class and Number of Shares                                 Total Outstanding

Audrey Cioch              Common Stock:                                                                      Outstanding Shares:
                          Series AA-1:                                                                  Outstanding Ownership: .0 %
                          Series AA Preferred:
                          Series B-2 Preferred:
                          Series BB-2 Preferred:
                          Series BB Preferred:
                          Series A Preferred:
                          Series A-1 Preferred:
                          Series B Preferred:
                          Options and RSU Outstanding Under 2016 Stock Option Plan:   8,587
                          Options and RSU Outstanding Under Friends/Family:
                          Series B-2 Preferred Warrants:
                          Series A-2 Preferred Warrants:

BAR Holdings, LLC         Common Stock: 384,616                                                         Outstanding Shares: 384,616
707 N Foothill Rd         Series AA-1:                                                                 Outstanding Ownership: 1.6443%
Beverly Hills, CA 90210   Series AA Preferred:
                          Series B-2 Preferred:
                          Series BB-2 Preferred:
                          Series BB Preferred:
                          Series A Preferred:
                          Series A-1 Preferred:
                          Series B Preferred:
                          Options and RSU Outstanding Under 2016 Stock Option Plan:
                          Options and RSU Outstanding Under Friends/Family:
                          Series B-2 Preferred Warrants:
                          Series A-2 Preferred Warrants:
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     Name and Address                             Class and Number of Shares                                 Total Outstanding

BAR Holdings, LLC         Common Stock:                                                                 Outstanding Shares: 659,568
707 N Foothill Rd         Series AA-1:                                                                 Outstanding Ownership: 2.8198%
Beverly Hills, CA 90210   Series AA Preferred: 609,570
                          Series B-2 Preferred:
                          Series BB-2 Preferred: 49,998
                          Series BB Preferred:
                          Series A Preferred:
                          Series A-1 Preferred:
                          Series B Preferred:
                          Options and RSU Outstanding Under 2016 Stock Option Plan:
                          Options and RSU Outstanding Under Friends/Family:
                          Series B-2 Preferred Warrants:
                          Series A-2 Preferred Warrants:

Behaviours In, LLC        Common Stock:                                                                      Outstanding Shares:
                          Series AA-1:                                                                  Outstanding Ownership: .0 %
                          Series AA Preferred:
                          Series B-2 Preferred:
                          Series BB-2 Preferred:
                          Series BB Preferred:
                          Series A Preferred:
                          Series A-1 Preferred:
                          Series B Preferred:
                          Options and RSU Outstanding Under 2016 Stock Option Plan:
                          Options and RSU Outstanding Under Friends/Family: 1,000
                          Series B-2 Preferred Warrants:
                          Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                 Total Outstanding

Benjamin Smith          Common Stock:                                                                     Outstanding Shares:
1924 Craig Ave          Series AA-1:                                                                 Outstanding Ownership: .0 %
Altadena, CA 91001      Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan: 75,000
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Brad Gross              Common Stock: 19,231                                                          Outstanding Shares: 34,470
10635 Esther Ave        Series AA-1:                                                                 Outstanding Ownership: .1474%
Los Angeles, CA 90064   Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred: 15,239
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                                   Class and Number of Shares                                 Total Outstanding

Brazos Resources                Common Stock: 19,231                                                          Outstanding Shares: 45,447
901 S Mopac #1-220              Series AA-1:                                                                 Outstanding Ownership: .1943%
Austin, TX 78746                Series AA Preferred:
                                Series B-2 Preferred:
                                Series BB-2 Preferred:
                                Series BB Preferred:
                                Series A Preferred: 22,859
                                Series A-1 Preferred: 3,357
                                Series B Preferred:
                                Options and RSU Outstanding Under 2016 Stock Option Plan:
                                Options and RSU Outstanding Under Friends/Family:
                                Series B-2 Preferred Warrants:
                                Series A-2 Preferred Warrants:

Brett Silver and Wendy Silver   Common Stock: 38,462                                                          Outstanding Shares: 38,462
Revocable 2010 Trust            Series AA-1:                                                                 Outstanding Ownership: .1644%
4821 Oak Park Ave               Series AA Preferred:
Encino, CA 91316                Series B-2 Preferred:
                                Series BB-2 Preferred:
                                Series BB Preferred:
                                Series A Preferred:
                                Series A-1 Preferred:
                                Series B Preferred:
                                Options and RSU Outstanding Under 2016 Stock Option Plan:
                                Options and RSU Outstanding Under Friends/Family:
                                Series B-2 Preferred Warrants:
                                Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                 Total Outstanding

Brian Kelley            Common Stock:                                                                     Outstanding Shares:
6142 Harvey Way         Series AA-1:                                                                 Outstanding Ownership: .0 %
Lakewood, CA 90713      Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   2,500
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Brittany Belmont        Common Stock: 354                                                              Outstanding Shares: 354
                        Series AA-1:                                                                 Outstanding Ownership: .0015%
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                 Total Outstanding

Brittany Shefts         Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   2,500
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Bryce Nicastro          Common Stock: 1,485                                                            Outstanding Shares: 1,485
                        Series AA-1:                                                                 Outstanding Ownership: .0063%
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                Total Outstanding

Carrie Austermann       Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   1,000
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Catherine O'Neill       Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:
                        Options and RSU Outstanding Under Friends/Family: 1,000
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                                  Class and Number of Shares                                 Total Outstanding

Chantalle (Sephora) Noormand   Common Stock: 796                                                              Outstanding Shares: 796
                               Series AA-1:                                                                 Outstanding Ownership: .0034%
                               Series AA Preferred:
                               Series B-2 Preferred:
                               Series BB-2 Preferred:
                               Series BB Preferred:
                               Series A Preferred:
                               Series A-1 Preferred:
                               Series B Preferred:
                               Options and RSU Outstanding Under 2016 Stock Option Plan:   1,304
                               Options and RSU Outstanding Under Friends/Family:
                               Series B-2 Preferred Warrants:
                               Series A-2 Preferred Warrants:

Charles Adams                  Common Stock:                                                                     Outstanding Shares:
                               Series AA-1:                                                                 Outstanding Ownership: .0 %
                               Series AA Preferred:
                               Series B-2 Preferred:
                               Series BB-2 Preferred:
                               Series BB Preferred:
                               Series A Preferred:
                               Series A-1 Preferred:
                               Series B Preferred:
                               Options and RSU Outstanding Under 2016 Stock Option Plan:   8,587
                               Options and RSU Outstanding Under Friends/Family:
                               Series B-2 Preferred Warrants:
                               Series A-2 Preferred Warrants:
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     Name and Address                                  Class and Number of Shares                                 Total Outstanding

Chick Launcher Partners, LLC   Common Stock: 38,462                                                          Outstanding Shares: 41,551
741 Iliff                      Series AA-1:                                                                 Outstanding Ownership: .1776%
Pacific Palisades, CA 90272    Series AA Preferred:
                               Series B-2 Preferred:
                               Series BB-2 Preferred:
                               Series BB Preferred:
                               Series A Preferred:
                               Series A-1 Preferred: 3,089
                               Series B Preferred:
                               Options and RSU Outstanding Under 2016 Stock Option Plan:
                               Options and RSU Outstanding Under Friends/Family:
                               Series B-2 Preferred Warrants:
                               Series A-2 Preferred Warrants:

Chris Demery                   Common Stock: 9,711                                                            Outstanding Shares: 9,711
                               Series AA-1:                                                                 Outstanding Ownership: .0415%
                               Series AA Preferred:
                               Series B-2 Preferred:
                               Series BB-2 Preferred:
                               Series BB Preferred:
                               Series A Preferred:
                               Series A-1 Preferred:
                               Series B Preferred:
                               Options and RSU Outstanding Under 2016 Stock Option Plan:
                               Options and RSU Outstanding Under Friends/Family:
                               Series B-2 Preferred Warrants:
                               Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                Total Outstanding

Chris Scherer           Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   4,294
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Christina Schweigert    Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   2,500
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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      Name and Address                                Class and Number of Shares                                Total Outstanding

Cindy Chow                    Common Stock:                                                                     Outstanding Shares:
                              Series AA-1:                                                                 Outstanding Ownership: .0 %
                              Series AA Preferred:
                              Series B-2 Preferred:
                              Series BB-2 Preferred:
                              Series BB Preferred:
                              Series A Preferred:
                              Series A-1 Preferred:
                              Series B Preferred:
                              Options and RSU Outstanding Under 2016 Stock Option Plan:   2,500
                              Options and RSU Outstanding Under Friends/Family:
                              Series B-2 Preferred Warrants:
                              Series A-2 Preferred Warrants:

Comerica Bank, a Texas        Common Stock:                                                                     Outstanding Shares:
banking association, or its   Series AA-1:                                                                 Outstanding Ownership: .0 %
assignee                      Series AA Preferred:
                              Series B-2 Preferred:
                              Series BB-2 Preferred:
                              Series BB Preferred:
                              Series A Preferred:
                              Series A-1 Preferred:
                              Series B Preferred:
                              Options and RSU Outstanding Under 2016 Stock Option Plan:
                              Options and RSU Outstanding Under Friends/Family:
                              Series B-2 Preferred Warrants:
                              Series A-2 Preferred Warrants: 24,383
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     Name and Address                           Class and Number of Shares                                Total Outstanding

Connie Hoole            Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   229
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Crisanta German         Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan: 16,027
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                             Class and Number of Shares                                 Total Outstanding

Daisy Hakim Nargies       Common Stock:                                                                     Outstanding Shares:
                          Series AA-1:                                                                 Outstanding Ownership: .0 %
                          Series AA Preferred:
                          Series B-2 Preferred:
                          Series BB-2 Preferred:
                          Series BB Preferred:
                          Series A Preferred:
                          Series A-1 Preferred:
                          Series B Preferred:
                          Options and RSU Outstanding Under 2016 Stock Option Plan:   500
                          Options and RSU Outstanding Under Friends/Family:
                          Series B-2 Preferred Warrants:
                          Series A-2 Preferred Warrants:

Daniel Fishman            Common Stock:                                                                 Outstanding Shares: 60,957
10043 Hillgrove Dr        Series AA-1:                                                                 Outstanding Ownership: .2606%
Beverly Hills, CA 90210   Series AA Preferred:
                          Series B-2 Preferred:
                          Series BB-2 Preferred:
                          Series BB Preferred:
                          Series A Preferred: 60,957
                          Series A-1 Preferred:
                          Series B Preferred:
                          Options and RSU Outstanding Under 2016 Stock Option Plan:
                          Options and RSU Outstanding Under Friends/Family:
                          Series B-2 Preferred Warrants:
                          Series A-2 Preferred Warrants:
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     Name and Address                             Class and Number of Shares                                 Total Outstanding

Danielle Kim              Common Stock: 1,592                                                            Outstanding Shares: 1,592
                          Series AA-1:                                                                 Outstanding Ownership: .0068%
                          Series AA Preferred:
                          Series B-2 Preferred:
                          Series BB-2 Preferred:
                          Series BB Preferred:
                          Series A Preferred:
                          Series A-1 Preferred:
                          Series B Preferred:
                          Options and RSU Outstanding Under 2016 Stock Option Plan:
                          Options and RSU Outstanding Under Friends/Family:
                          Series B-2 Preferred Warrants:
                          Series A-2 Preferred Warrants:

Danny Coorsh              Common Stock: 187,117                                                         Outstanding Shares: 187,117
1626 Havemeyer Lane       Series AA-1:                                                                 Outstanding Ownership: .8 %
Redondo Beach, CA 90278   Series AA Preferred:
                          Series B-2 Preferred:
                          Series BB-2 Preferred:
                          Series BB Preferred:
                          Series A Preferred:
                          Series A-1 Preferred:
                          Series B Preferred:
                          Options and RSU Outstanding Under 2016 Stock Option Plan:
                          Options and RSU Outstanding Under Friends/Family:
                          Series B-2 Preferred Warrants:
                          Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                 Total Outstanding

David Berger            Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:
                        Options and RSU Outstanding Under Friends/Family: 500
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

David Chamberlin        Common Stock: 7,693                                                           Outstanding Shares: 19,185
1155 Canyon Blvd #404   Series AA-1:                                                                 Outstanding Ownership: .082 %
Boulder, CO 80302       Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred: 11,492
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                Total Outstanding

David Cruz              Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   1,000
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

David Cruz III          Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   4,294
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                 Total Outstanding

David Solomon           Common Stock:                                                                 Outstanding Shares: 76,196
145 Central Park, 4C    Series AA-1:                                                                 Outstanding Ownership: .3257%
New York, NY 10023      Series AA Preferred: 76,196
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Daylan Machado          Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   1,718
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                Total Outstanding

Deanna Cabrera          Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   8,587
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Derek Yokota            Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   2,577
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                                  Class and Number of Shares                                 Total Outstanding

Diego Reyes                    Common Stock:                                                                 Outstanding Shares: 15,421
30 Georgetowne North           Series AA-1: 3,992                                                           Outstanding Ownership: .0659%
Greenwich, CT 6831             Series AA Preferred: 11,429
                               Series B-2 Preferred:
                               Series BB-2 Preferred:
                               Series BB Preferred:
                               Series A Preferred:
                               Series A-1 Preferred:
                               Series B Preferred:
                               Options and RSU Outstanding Under 2016 Stock Option Plan:
                               Options and RSU Outstanding Under Friends/Family:
                               Series B-2 Preferred Warrants:
                               Series A-2 Preferred Warrants:

Dudley H. Pepp and Arline      Common Stock:                                                                 Outstanding Shares: 172,751
Pepp Family Trust DTD 6-4-91   Series AA-1:                                                                 Outstanding Ownership: .7385%
612 N Alta Dr                  Series AA Preferred:
Beverly Hills, CA 90210        Series B-2 Preferred: 8,121
                               Series BB-2 Preferred:
                               Series BB Preferred:
                               Series A Preferred: 152,393
                               Series A-1 Preferred: 12,237
                               Series B Preferred:
                               Options and RSU Outstanding Under 2016 Stock Option Plan:
                               Options and RSU Outstanding Under Friends/Family:
                               Series B-2 Preferred Warrants:
                               Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                Total Outstanding

Dylan Kelaart           Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   3,435
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Elizabeth Abbott        Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   1,771
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                Total Outstanding

Elizabeth Villegas      Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   500
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Emilie Vieweg           Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   500
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                 Total Outstanding

Emily Sweet             Common Stock: 197                                                              Outstanding Shares: 197
6050 Via Madrid         Series AA-1:                                                                 Outstanding Ownership: .0008%
Granite Bay, CA 95746   Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Eric Gewirtz            Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:
                        Options and RSU Outstanding Under Friends/Family: 500
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                                 Class and Number of Shares                                 Total Outstanding

Eric Zinterhofer              Common Stock:                                                                 Outstanding Shares: 79,954
Rockefeller & Co c/o Tamar    Series AA-1:                                                                 Outstanding Ownership: .3418%
Loffe                         Series AA Preferred:
10 Rockefller Plaza, 3rd Fl   Series B-2 Preferred: 3,758
New York, NY 10020            Series BB-2 Preferred:
                              Series BB Preferred:
                              Series A Preferred: 76,196
                              Series A-1 Preferred:
                              Series B Preferred:
                              Options and RSU Outstanding Under 2016 Stock Option Plan:
                              Options and RSU Outstanding Under Friends/Family:
                              Series B-2 Preferred Warrants:
                              Series A-2 Preferred Warrants:

Erin Murphy                   Common Stock:                                                                     Outstanding Shares:
                              Series AA-1:                                                                 Outstanding Ownership: .0 %
                              Series AA Preferred:
                              Series B-2 Preferred:
                              Series BB-2 Preferred:
                              Series BB Preferred:
                              Series A Preferred:
                              Series A-1 Preferred:
                              Series B Preferred:
                              Options and RSU Outstanding Under 2016 Stock Option Plan:   500
                              Options and RSU Outstanding Under Friends/Family:
                              Series B-2 Preferred Warrants:
                              Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                 Total Outstanding

Erme Garcia             Common Stock: 6,046                                                            Outstanding Shares: 6,046
                        Series AA-1:                                                                 Outstanding Ownership: .0258%
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Evie Ryland             Common Stock: 2,838                                                            Outstanding Shares: 2,838
                        Series AA-1:                                                                 Outstanding Ownership: .0121%
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                                 Class and Number of Shares                                 Total Outstanding

GHP Sugarfina Holdings, LLC   Common Stock:                                                                 Outstanding Shares: 5,833,111
                              Series AA-1:                                                                 Outstanding Ownership: 24.9375%
                              Series AA Preferred:
                              Series B-2 Preferred:
                              Series BB-2 Preferred: 833,302
                              Series BB Preferred: 4,999,809
                              Series A Preferred:
                              Series A-1 Preferred:
                              Series B Preferred:
                              Options and RSU Outstanding Under 2016 Stock Option Plan:
                              Options and RSU Outstanding Under Friends/Family:
                              Series B-2 Preferred Warrants:
                              Series A-2 Preferred Warrants:

GHP Sugarfina Holdings, LLC   Common Stock: 2,292                                                            Outstanding Shares: 2,292
                              Series AA-1:                                                                 Outstanding Ownership: .0098%
                              Series AA Preferred:
                              Series B-2 Preferred:
                              Series BB-2 Preferred:
                              Series BB Preferred:
                              Series A Preferred:
                              Series A-1 Preferred:
                              Series B Preferred:
                              Options and RSU Outstanding Under 2016 Stock Option Plan:
                              Options and RSU Outstanding Under Friends/Family:
                              Series B-2 Preferred Warrants:
                              Series A-2 Preferred Warrants:
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     Name and Address                                 Class and Number of Shares                                 Total Outstanding

GHP Sugarfina Holdings, LLC   Common Stock: 798,849                                                         Outstanding Shares: 798,849
                              Series AA-1:                                                                 Outstanding Ownership: 3.4152%
                              Series AA Preferred:
                              Series B-2 Preferred:
                              Series BB-2 Preferred:
                              Series BB Preferred:
                              Series A Preferred:
                              Series A-1 Preferred:
                              Series B Preferred:
                              Options and RSU Outstanding Under 2016 Stock Option Plan:
                              Options and RSU Outstanding Under Friends/Family:
                              Series B-2 Preferred Warrants:
                              Series A-2 Preferred Warrants:

GHP Sugarfina Holdings, LLC   Common Stock: 32,160                                                          Outstanding Shares: 32,160
                              Series AA-1:                                                                 Outstanding Ownership: .1375%
                              Series AA Preferred:
                              Series B-2 Preferred:
                              Series BB-2 Preferred:
                              Series BB Preferred:
                              Series A Preferred:
                              Series A-1 Preferred:
                              Series B Preferred:
                              Options and RSU Outstanding Under 2016 Stock Option Plan:
                              Options and RSU Outstanding Under Friends/Family:
                              Series B-2 Preferred Warrants:
                              Series A-2 Preferred Warrants:
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     Name and Address                                   Class and Number of Shares                                 Total Outstanding

Great Oaks Venture Capital      Common Stock: 130,769                                                         Outstanding Shares: 180,483
ACK LLC                         Series AA-1:                                                                 Outstanding Ownership: .7716%
660 Madison Ave, Suite 1600     Series AA Preferred:
New York, NY 10065              Series B-2 Preferred:
                                Series BB-2 Preferred:
                                Series BB Preferred:
                                Series A Preferred: 15,239
                                Series A-1 Preferred: 34,475
                                Series B Preferred:
                                Options and RSU Outstanding Under 2016 Stock Option Plan:
                                Options and RSU Outstanding Under Friends/Family:
                                Series B-2 Preferred Warrants:
                                Series A-2 Preferred Warrants:

Great Oaks Venture Capital BZ   Common Stock: 15,385                                                          Outstanding Shares: 15,385
LLC                             Series AA-1:                                                                 Outstanding Ownership: .0658%
660 Madison Ave, Suite 1600     Series AA Preferred:
New York, NY 10065              Series B-2 Preferred:
                                Series BB-2 Preferred:
                                Series BB Preferred:
                                Series A Preferred:
                                Series A-1 Preferred:
                                Series B Preferred:
                                Options and RSU Outstanding Under 2016 Stock Option Plan:
                                Options and RSU Outstanding Under Friends/Family:
                                Series B-2 Preferred Warrants:
                                Series A-2 Preferred Warrants:
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     Name and Address                                 Class and Number of Shares                                 Total Outstanding

Great Oaks Venture Fund LP    Common Stock: 38,461                                                          Outstanding Shares: 38,461
660 Madison Ave, Suite 1600   Series AA-1:                                                                 Outstanding Ownership: .1644%
New York, NY 10065            Series AA Preferred:
                              Series B-2 Preferred:
                              Series BB-2 Preferred:
                              Series BB Preferred:
                              Series A Preferred:
                              Series A-1 Preferred:
                              Series B Preferred:
                              Options and RSU Outstanding Under 2016 Stock Option Plan:
                              Options and RSU Outstanding Under Friends/Family:
                              Series B-2 Preferred Warrants:
                              Series A-2 Preferred Warrants:

Greg Borrud                   Common Stock:                                                                     Outstanding Shares:
                              Series AA-1:                                                                 Outstanding Ownership: .0 %
                              Series AA Preferred:
                              Series B-2 Preferred:
                              Series BB-2 Preferred:
                              Series BB Preferred:
                              Series A Preferred:
                              Series A-1 Preferred:
                              Series B Preferred:
                              Options and RSU Outstanding Under 2016 Stock Option Plan:
                              Options and RSU Outstanding Under Friends/Family: 500
                              Series B-2 Preferred Warrants:
                              Series A-2 Preferred Warrants:
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     Name and Address                               Class and Number of Shares                                 Total Outstanding

Greywacke 2015 Charitable   Common Stock:                                                                 Outstanding Shares: 919,329
Trust                       Series AA-1:                                                                 Outstanding Ownership: 3.9303%
PO Box 2889                 Series AA Preferred:
San Francisco, CA 94127     Series B-2 Preferred:
                            Series BB-2 Preferred:
                            Series BB Preferred:
                            Series A Preferred:
                            Series A-1 Preferred: 919,329
                            Series B Preferred:
                            Options and RSU Outstanding Under 2016 Stock Option Plan:
                            Options and RSU Outstanding Under Friends/Family:
                            Series B-2 Preferred Warrants:
                            Series A-2 Preferred Warrants:

Gustav Vik                  Common Stock:                                                                 Outstanding Shares: 60,957
                            Series AA-1:                                                                 Outstanding Ownership: .2606%
                            Series AA Preferred:
                            Series B-2 Preferred:
                            Series BB-2 Preferred:
                            Series BB Preferred:
                            Series A Preferred: 60,957
                            Series A-1 Preferred:
                            Series B Preferred:
                            Options and RSU Outstanding Under 2016 Stock Option Plan:
                            Options and RSU Outstanding Under Friends/Family:
                            Series B-2 Preferred Warrants:
                            Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                Total Outstanding

Hal Williams            Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   4,294
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Heather Searock         Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan: 21,467
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                Total Outstanding

Heesun Kim              Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   2,500
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Heidi Kinsella          Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   2,500
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                                 Class and Number of Shares                                 Total Outstanding

Helen Cho                     Common Stock: 1,434                                                            Outstanding Shares: 1,434
                              Series AA-1:                                                                 Outstanding Ownership: .0061%
                              Series AA Preferred:
                              Series B-2 Preferred:
                              Series BB-2 Preferred:
                              Series BB Preferred:
                              Series A Preferred:
                              Series A-1 Preferred:
                              Series B Preferred:
                              Options and RSU Outstanding Under 2016 Stock Option Plan:
                              Options and RSU Outstanding Under Friends/Family:
                              Series B-2 Preferred Warrants:
                              Series A-2 Preferred Warrants:

Herd Investments IV, LLC      Common Stock:                                                                 Outstanding Shares: 35,050
1801 E 7th St, Ground Floor   Series AA-1:                                                                 Outstanding Ownership: .1498%
Los Angeles, CA 90021         Series AA Preferred:
                              Series B-2 Preferred:
                              Series BB-2 Preferred:
                              Series BB Preferred:
                              Series A Preferred: 35,050
                              Series A-1 Preferred:
                              Series B Preferred:
                              Options and RSU Outstanding Under 2016 Stock Option Plan:
                              Options and RSU Outstanding Under Friends/Family:
                              Series B-2 Preferred Warrants:
                              Series A-2 Preferred Warrants:
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     Name and Address                                 Class and Number of Shares                                 Total Outstanding

Howard and Stacy Marks        Common Stock:                                                                 Outstanding Shares: 38,223
615 Arden Dr                  Series AA-1:                                                                 Outstanding Ownership: .1634%
Beverly Hills, CA 90210       Series AA Preferred:
                              Series B-2 Preferred:
                              Series BB-2 Preferred:
                              Series BB Preferred:
                              Series A Preferred: 15,239
                              Series A-1 Preferred: 22,984
                              Series B Preferred:
                              Options and RSU Outstanding Under 2016 Stock Option Plan:
                              Options and RSU Outstanding Under Friends/Family:
                              Series B-2 Preferred Warrants:
                              Series A-2 Preferred Warrants:

James A. Goldman and Gianna   Common Stock:                                                                 Outstanding Shares: 110,547
D. Goldman as tenants in      Series AA-1: 11,492                                                          Outstanding Ownership: .4726%
common                        Series AA Preferred: 99,055
44 Cradle Rock Road           Series B-2 Preferred:
Princeton, NJ 08450           Series BB-2 Preferred:
                              Series BB Preferred:
                              Series A Preferred:
                              Series A-1 Preferred:
                              Series B Preferred:
                              Options and RSU Outstanding Under 2016 Stock Option Plan:
                              Options and RSU Outstanding Under Friends/Family:
                              Series B-2 Preferred Warrants:
                              Series A-2 Preferred Warrants:
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    Name and Address                           Class and Number of Shares                                Total Outstanding

Jamie Johnson          Common Stock:                                                                     Outstanding Shares:
                       Series AA-1:                                                                 Outstanding Ownership: .0 %
                       Series AA Preferred:
                       Series B-2 Preferred:
                       Series BB-2 Preferred:
                       Series BB Preferred:
                       Series A Preferred:
                       Series A-1 Preferred:
                       Series B Preferred:
                       Options and RSU Outstanding Under 2016 Stock Option Plan:   3,541
                       Options and RSU Outstanding Under Friends/Family:
                       Series B-2 Preferred Warrants:
                       Series A-2 Preferred Warrants:

Janene Fukuda          Common Stock:                                                                     Outstanding Shares:
                       Series AA-1:                                                                 Outstanding Ownership: .0 %
                       Series AA Preferred:
                       Series B-2 Preferred:
                       Series BB-2 Preferred:
                       Series BB Preferred:
                       Series A Preferred:
                       Series A-1 Preferred:
                       Series B Preferred:
                       Options and RSU Outstanding Under 2016 Stock Option Plan:   4,294
                       Options and RSU Outstanding Under Friends/Family:
                       Series B-2 Preferred Warrants:
                       Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                 Total Outstanding

Janet and Tim O'Neill   Common Stock:                                                                      Outstanding Shares:
                        Series AA-1:                                                                  Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:
                        Options and RSU Outstanding Under Friends/Family: 5,000
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Janet Gurwitch          Common Stock:                                                                 Outstanding Shares: 247,559
3244 Huntingdon Place   Series AA-1:                                                                 Outstanding Ownership: 1.0584%
Houston, TX 77019       Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred: 91,436
                        Series A-1 Preferred: 156,123
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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      Name and Address                               Class and Number of Shares                                 Total Outstanding

Jeff Lotman                  Common Stock: 38,462                                                          Outstanding Shares: 61,097
12400 Wilshire Blvd, #1400   Series AA-1:                                                                 Outstanding Ownership: .2612%
Los Angeles, CA 90025        Series AA Preferred:
                             Series B-2 Preferred:
                             Series BB-2 Preferred:
                             Series BB Preferred:
                             Series A Preferred:
                             Series A-1 Preferred: 22,635
                             Series B Preferred:
                             Options and RSU Outstanding Under 2016 Stock Option Plan:
                             Options and RSU Outstanding Under Friends/Family:
                             Series B-2 Preferred Warrants:
                             Series A-2 Preferred Warrants:

Jeff O'Neill                 Common Stock:                                                                     Outstanding Shares:
                             Series AA-1:                                                                 Outstanding Ownership: .0 %
                             Series AA Preferred:
                             Series B-2 Preferred:
                             Series BB-2 Preferred:
                             Series BB Preferred:
                             Series A Preferred:
                             Series A-1 Preferred:
                             Series B Preferred:
                             Options and RSU Outstanding Under 2016 Stock Option Plan:
                             Options and RSU Outstanding Under Friends/Family: 1,000
                             Series B-2 Preferred Warrants:
                             Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                 Total Outstanding

Jennifer Chang          Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   1,250
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Jennifer Lozano         Common Stock: 4,293                                                            Outstanding Shares: 4,293
2210 Orange Ave         Series AA-1:                                                                 Outstanding Ownership: .0184%
Costa Mesa, CA 92627    Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                 Total Outstanding

Jeri and Joel Finard    Common Stock:                                                                 Outstanding Shares: 105,298
74 Magnolia Ave         Series AA-1:                                                                 Outstanding Ownership: .4502%
Larchmont, NY 10538     Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred: 76,196
                        Series A-1 Preferred: 29,102
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Jessica Hauspurg        Common Stock: 21,287                                                          Outstanding Shares: 21,287
                        Series AA-1:                                                                 Outstanding Ownership: .091 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                 Total Outstanding

Jessica Li              Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   4,294
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Jessica Saylor          Common Stock: 5,871                                                            Outstanding Shares: 5,871
                        Series AA-1:                                                                 Outstanding Ownership: .0251%
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                 Total Outstanding

Jim Goldman             Common Stock: 60,000                                                          Outstanding Shares: 60,000
44 Cradle Road Road     Series AA-1:                                                                 Outstanding Ownership: .2565%
Princeton, NJ 8540      Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Joanna Woo              Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   1,109
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                Total Outstanding

Joe Forkner             Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   1,000
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

John C. Wellemeyer      Common Stock:                                                                 Outstanding Shares: 102,928
89 Rosedale Rd          Series AA-1:                                                                 Outstanding Ownership: .44 %
Princeton, NJ 08540     Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred: 91,436
                        Series A-1 Preferred: 11,492
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                                Class and Number of Shares                                 Total Outstanding

John Nelson, SPRT (Grandor   Common Stock: 38,462                                                          Outstanding Shares: 68,941
Trust)                       Series AA-1:                                                                 Outstanding Ownership: .2947%
1600 Westar Dr               Series AA Preferred:
Oxnard, CA 93033             Series B-2 Preferred:
                             Series BB-2 Preferred:
                             Series BB Preferred:
                             Series A Preferred: 30,479
                             Series A-1 Preferred:
                             Series B Preferred:
                             Options and RSU Outstanding Under 2016 Stock Option Plan:
                             Options and RSU Outstanding Under Friends/Family:
                             Series B-2 Preferred Warrants:
                             Series A-2 Preferred Warrants:

John Nelson, SPRT (Grantor   Common Stock:                                                                 Outstanding Shares: 41,665
Trust)                       Series AA-1:                                                                 Outstanding Ownership: .1781%
1600 Westar Dr               Series AA Preferred:
Oxnard, CA 93033             Series B-2 Preferred: 41,665
                             Series BB-2 Preferred:
                             Series BB Preferred:
                             Series A Preferred:
                             Series A-1 Preferred:
                             Series B Preferred:
                             Options and RSU Outstanding Under 2016 Stock Option Plan:
                             Options and RSU Outstanding Under Friends/Family:
                             Series B-2 Preferred Warrants:
                             Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                 Total Outstanding

John Vlkovic            Common Stock: 2,201                                                            Outstanding Shares: 2,201
278 West Campbell Ave   Series AA-1:                                                                 Outstanding Ownership: .0094%
Campbell, CA 95008      Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   376
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Jonathan Scopp          Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:
                        Options and RSU Outstanding Under Friends/Family: 500
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                 Total Outstanding

Josh Podell             Common Stock: 38,462                                                          Outstanding Shares: 41,551
35 Chestnut Hill        Series AA-1:                                                                 Outstanding Ownership: .1776%
Roslyn, NY 11576        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred: 3,089
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Josh Resnick            Common Stock: 4,583,349                                                       Outstanding Shares: 4,583,349
1611 Old Oak Rd         Series AA-1:                                                                 Outstanding Ownership: 19.5945%
Los Angeles, CA 90049   Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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      Name and Address                           Class and Number of Shares                                Total Outstanding

Julie Wilton             Common Stock:                                                                     Outstanding Shares:
                         Series AA-1:                                                                 Outstanding Ownership: .0 %
                         Series AA Preferred:
                         Series B-2 Preferred:
                         Series BB-2 Preferred:
                         Series BB Preferred:
                         Series A Preferred:
                         Series A-1 Preferred:
                         Series B Preferred:
                         Options and RSU Outstanding Under 2016 Stock Option Plan:   500
                         Options and RSU Outstanding Under Friends/Family:
                         Series B-2 Preferred Warrants:
                         Series A-2 Preferred Warrants:

Katelynn Danluck         Common Stock:                                                                     Outstanding Shares:
                         Series AA-1:                                                                 Outstanding Ownership: .0 %
                         Series AA Preferred:
                         Series B-2 Preferred:
                         Series BB-2 Preferred:
                         Series BB Preferred:
                         Series A Preferred:
                         Series A-1 Preferred:
                         Series B Preferred:
                         Options and RSU Outstanding Under 2016 Stock Option Plan:   3,077
                         Options and RSU Outstanding Under Friends/Family:
                         Series B-2 Preferred Warrants:
                         Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                Total Outstanding

Katherine Kim           Common Stock:                                                                     Outstanding Shares:
269 S Church Lane       Series AA-1:                                                                 Outstanding Ownership: .0 %
Los Angeles, CA 90049   Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   2,500
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Kayla Choe              Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   500
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                 Total Outstanding

Kayla Zumbahlen         Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   500
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Keith Resnick           Common Stock:                                                                 Outstanding Shares: 76,196
3540 W Sahara, #182     Series AA-1:                                                                 Outstanding Ownership: .3257%
Las Vegas, NV 89102     Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred: 76,196
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                Total Outstanding

Kevin Lucier            Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan: 60,000
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Kieran O'Neill          Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:
                        Options and RSU Outstanding Under Friends/Family: 1,000
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                               Class and Number of Shares                                 Total Outstanding

Kim-Thu Posnett             Common Stock:                                                                 Outstanding Shares: 30,479
1 Grand Arm Plaza, Apt 7J   Series AA-1:                                                                 Outstanding Ownership: .1303%
Brooklyn, NY 11238          Series AA Preferred:
                            Series B-2 Preferred:
                            Series BB-2 Preferred:
                            Series BB Preferred:
                            Series A Preferred: 30,479
                            Series A-1 Preferred:
                            Series B Preferred:
                            Options and RSU Outstanding Under 2016 Stock Option Plan:
                            Options and RSU Outstanding Under Friends/Family:
                            Series B-2 Preferred Warrants:
                            Series A-2 Preferred Warrants:

Kimberly Stanford           Common Stock:                                                                     Outstanding Shares:
                            Series AA-1:                                                                 Outstanding Ownership: .0 %
                            Series AA Preferred:
                            Series B-2 Preferred:
                            Series BB-2 Preferred:
                            Series BB Preferred:
                            Series A Preferred:
                            Series A-1 Preferred:
                            Series B Preferred:
                            Options and RSU Outstanding Under 2016 Stock Option Plan:   2,500
                            Options and RSU Outstanding Under Friends/Family:
                            Series B-2 Preferred Warrants:
                            Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                               Total Outstanding

Kris Sackett            Common Stock:                                                                    Outstanding Shares:
                        Series AA-1:                                                                Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan: 15,000
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Lance Miller            Common Stock:                                                                    Outstanding Shares:
                        Series AA-1:                                                                Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan: 125,000
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                                    Class and Number of Shares                                 Total Outstanding

Lapis Ventures SAC Limited -     Common Stock: 192,308                                                         Outstanding Shares: 240,292
Lapis Capsule Fund               Series AA-1: 22,985                                                          Outstanding Ownership: 1.0273%
Wessex House, Fl 2, 45 Reid St   Series AA Preferred:
Hamilton HM 12, BERMUDA,         Series B-2 Preferred:
BO                               Series BB-2 Preferred: 24,999
                                 Series BB Preferred:
                                 Series A Preferred:
                                 Series A-1 Preferred:
                                 Series B Preferred:
                                 Options and RSU Outstanding Under 2016 Stock Option Plan:
                                 Options and RSU Outstanding Under Friends/Family:
                                 Series B-2 Preferred Warrants:
                                 Series A-2 Preferred Warrants:

Lapis Ventures SAC Limited -     Common Stock:                                                                 Outstanding Shares: 76,196
Lapis Capsule Fund               Series AA-1:                                                                 Outstanding Ownership: .3257%
Wessex House, Fl 2, 45 Reid St   Series AA Preferred: 76,196
Hamilton HM 12, BERMUDA,         Series B-2 Preferred:
BO                               Series BB-2 Preferred:
                                 Series BB Preferred:
                                 Series A Preferred:
                                 Series A-1 Preferred:
                                 Series B Preferred:
                                 Options and RSU Outstanding Under 2016 Stock Option Plan:
                                 Options and RSU Outstanding Under Friends/Family:
                                 Series B-2 Preferred Warrants:
                                 Series A-2 Preferred Warrants:
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     Name and Address                                Class and Number of Shares                                 Total Outstanding

Larry Berg                   Common Stock:                                                                 Outstanding Shares: 304,785
2000 Ave of the Stars, Ste   Series AA-1:                                                                 Outstanding Ownership: 1.303 %
510N                         Series AA Preferred:
Los Angeles, CA 90067        Series B-2 Preferred:
                             Series BB-2 Preferred:
                             Series BB Preferred:
                             Series A Preferred: 304,785
                             Series A-1 Preferred:
                             Series B Preferred:
                             Options and RSU Outstanding Under 2016 Stock Option Plan:
                             Options and RSU Outstanding Under Friends/Family:
                             Series B-2 Preferred Warrants:
                             Series A-2 Preferred Warrants:

Larry Goldberg               Common Stock:                                                                     Outstanding Shares:
                             Series AA-1:                                                                 Outstanding Ownership: .0 %
                             Series AA Preferred:
                             Series B-2 Preferred:
                             Series BB-2 Preferred:
                             Series BB Preferred:
                             Series A Preferred:
                             Series A-1 Preferred:
                             Series B Preferred:
                             Options and RSU Outstanding Under 2016 Stock Option Plan:
                             Options and RSU Outstanding Under Friends/Family: 500
                             Series B-2 Preferred Warrants:
                             Series A-2 Preferred Warrants:
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     Name and Address                            Class and Number of Shares                                Total Outstanding

Larry Shapiro            Common Stock:                                                                     Outstanding Shares:
1721 Carlyle Ave         Series AA-1:                                                                 Outstanding Ownership: .0 %
Santa Monica, CA 90402   Series AA Preferred:
                         Series B-2 Preferred:
                         Series BB-2 Preferred:
                         Series BB Preferred:
                         Series A Preferred:
                         Series A-1 Preferred:
                         Series B Preferred:
                         Options and RSU Outstanding Under 2016 Stock Option Plan:
                         Options and RSU Outstanding Under Friends/Family: 500
                         Series B-2 Preferred Warrants:
                         Series A-2 Preferred Warrants:

LaShawn Pace             Common Stock:                                                                     Outstanding Shares:
                         Series AA-1:                                                                 Outstanding Ownership: .0 %
                         Series AA Preferred:
                         Series B-2 Preferred:
                         Series BB-2 Preferred:
                         Series BB Preferred:
                         Series A Preferred:
                         Series A-1 Preferred:
                         Series B Preferred:
                         Options and RSU Outstanding Under 2016 Stock Option Plan:   1,000
                         Options and RSU Outstanding Under Friends/Family:
                         Series B-2 Preferred Warrants:
                         Series A-2 Preferred Warrants:
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     Name and Address                                 Class and Number of Shares                                 Total Outstanding

Laura Nelson, SPRT (Grandor   Common Stock: 38,462                                                          Outstanding Shares: 68,941
Trust)                        Series AA-1:                                                                 Outstanding Ownership: .2947%
1601 Westar Dr                Series AA Preferred:
Oxnard, CA 93033              Series B-2 Preferred:
                              Series BB-2 Preferred:
                              Series BB Preferred:
                              Series A Preferred: 30,479
                              Series A-1 Preferred:
                              Series B Preferred:
                              Options and RSU Outstanding Under 2016 Stock Option Plan:
                              Options and RSU Outstanding Under Friends/Family:
                              Series B-2 Preferred Warrants:
                              Series A-2 Preferred Warrants:

Laura Nelson, SPRT (Grantor   Common Stock:                                                                 Outstanding Shares: 41,665
Trust)                        Series AA-1:                                                                 Outstanding Ownership: .1781%
1601 Westar Dr                Series AA Preferred:
Oxnard, CA 93033              Series B-2 Preferred: 41,665
                              Series BB-2 Preferred:
                              Series BB Preferred:
                              Series A Preferred:
                              Series A-1 Preferred:
                              Series B Preferred:
                              Options and RSU Outstanding Under 2016 Stock Option Plan:
                              Options and RSU Outstanding Under Friends/Family:
                              Series B-2 Preferred Warrants:
                              Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                Total Outstanding

Lauren Armstrong        Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   2,057
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Leah Cioth              Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   239
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                               Total Outstanding

Lile Benaicha           Common Stock:                                                                    Outstanding Shares:
                        Series AA-1:                                                                Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan: 25,000
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Lisa Harris             Common Stock:                                                                    Outstanding Shares:
                        Series AA-1:                                                                Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan: 111,630
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                                    Class and Number of Shares                                 Total Outstanding

Lisa Opal                        Common Stock:                                                                     Outstanding Shares:
                                 Series AA-1:                                                                 Outstanding Ownership: .0 %
                                 Series AA Preferred:
                                 Series B-2 Preferred:
                                 Series BB-2 Preferred:
                                 Series BB Preferred:
                                 Series A Preferred:
                                 Series A-1 Preferred:
                                 Series B Preferred:
                                 Options and RSU Outstanding Under 2016 Stock Option Plan:   2,577
                                 Options and RSU Outstanding Under Friends/Family:
                                 Series B-2 Preferred Warrants:
                                 Series A-2 Preferred Warrants:

Long Ball Partners, LLC          Common Stock:                                                                 Outstanding Shares: 87,688
2000 Ave of the Stars, 12th Fl   Series AA-1:                                                                 Outstanding Ownership: .3749%
Los Angeles, CA 90068            Series AA Preferred:
                                 Series B-2 Preferred:
                                 Series BB-2 Preferred:
                                 Series BB Preferred:
                                 Series A Preferred: 76,196
                                 Series A-1 Preferred: 11,492
                                 Series B Preferred:
                                 Options and RSU Outstanding Under 2016 Stock Option Plan:
                                 Options and RSU Outstanding Under Friends/Family:
                                 Series B-2 Preferred Warrants:
                                 Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                 Total Outstanding

Maritza Marguia         Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   1,994
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Maritza Murguia         Common Stock: 1,464                                                            Outstanding Shares: 1,464
                        Series AA-1:                                                                 Outstanding Ownership: .0063%
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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      Name and Address                           Class and Number of Shares                                Total Outstanding

Mark Griffiths           Common Stock:                                                                     Outstanding Shares:
                         Series AA-1:                                                                 Outstanding Ownership: .0 %
                         Series AA Preferred:
                         Series B-2 Preferred:
                         Series BB-2 Preferred:
                         Series BB Preferred:
                         Series A Preferred:
                         Series A-1 Preferred:
                         Series B Preferred:
                         Options and RSU Outstanding Under 2016 Stock Option Plan:   2,577
                         Options and RSU Outstanding Under Friends/Family:
                         Series B-2 Preferred Warrants:
                         Series A-2 Preferred Warrants:

Mary Johnson             Common Stock:                                                                     Outstanding Shares:
                         Series AA-1:                                                                 Outstanding Ownership: .0 %
                         Series AA Preferred:
                         Series B-2 Preferred:
                         Series BB-2 Preferred:
                         Series BB Preferred:
                         Series A Preferred:
                         Series A-1 Preferred:
                         Series B Preferred:
                         Options and RSU Outstanding Under 2016 Stock Option Plan:   1,610
                         Options and RSU Outstanding Under Friends/Family:
                         Series B-2 Preferred Warrants:
                         Series A-2 Preferred Warrants:
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     Name and Address                                 Class and Number of Shares                                 Total Outstanding

Matt Cwiertnia                Common Stock:                                                                 Outstanding Shares: 76,196
14926 Altata Dr               Series AA-1:                                                                 Outstanding Ownership: .3257%
Pacific Palisades, CA 90272   Series AA Preferred:
                              Series B-2 Preferred:
                              Series BB-2 Preferred:
                              Series BB Preferred:
                              Series A Preferred: 76,196
                              Series A-1 Preferred:
                              Series B Preferred:
                              Options and RSU Outstanding Under 2016 Stock Option Plan:
                              Options and RSU Outstanding Under Friends/Family:
                              Series B-2 Preferred Warrants:
                              Series A-2 Preferred Warrants:

Melissa Chan                  Common Stock: 644                                                              Outstanding Shares: 644
                              Series AA-1:                                                                 Outstanding Ownership: .0028%
                              Series AA Preferred:
                              Series B-2 Preferred:
                              Series BB-2 Preferred:
                              Series BB Preferred:
                              Series A Preferred:
                              Series A-1 Preferred:
                              Series B Preferred:
                              Options and RSU Outstanding Under 2016 Stock Option Plan:
                              Options and RSU Outstanding Under Friends/Family:
                              Series B-2 Preferred Warrants:
                              Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                 Total Outstanding

Melissa Clinard         Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   2,500
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Melissa Vazquez         Common Stock: 2,879                                                            Outstanding Shares: 2,879
                        Series AA-1:                                                                 Outstanding Ownership: .0123%
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                Total Outstanding

Michael Bailey          Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   1,000
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Michael DeLuca          Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   458
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                Total Outstanding

Michael Meyers          Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   4,294
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Michael Rosen           Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:
                        Options and RSU Outstanding Under Friends/Family: 500
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                            Class and Number of Shares                                 Total Outstanding

Michelle Gonzalez        Common Stock: 1,164                                                           Outstanding Shares: 1,164
1433 14th St #6          Series AA-1:                                                                 Outstanding Ownership: .005 %
Santa Monica, CA 90404   Series AA Preferred:
                         Series B-2 Preferred:
                         Series BB-2 Preferred:
                         Series BB Preferred:
                         Series A Preferred:
                         Series A-1 Preferred:
                         Series B Preferred:
                         Options and RSU Outstanding Under 2016 Stock Option Plan:
                         Options and RSU Outstanding Under Friends/Family:
                         Series B-2 Preferred Warrants:
                         Series A-2 Preferred Warrants:

Mike Weinsten            Common Stock:                                                                     Outstanding Shares:
                         Series AA-1:                                                                 Outstanding Ownership: .0 %
                         Series AA Preferred:
                         Series B-2 Preferred:
                         Series BB-2 Preferred:
                         Series BB Preferred:
                         Series A Preferred:
                         Series A-1 Preferred:
                         Series B Preferred:
                         Options and RSU Outstanding Under 2016 Stock Option Plan:
                         Options and RSU Outstanding Under Friends/Family: 500
                         Series B-2 Preferred Warrants:
                         Series A-2 Preferred Warrants:
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     Name and Address                                  Class and Number of Shares                                Total Outstanding

Mindilove Marshall             Common Stock:                                                                     Outstanding Shares:
25032 Hidden Hills Rd. Appt.   Series AA-1:                                                                 Outstanding Ownership: .0 %
22N                            Series AA Preferred:
Laguna Niguel, CA 92677        Series B-2 Preferred:
                               Series BB-2 Preferred:
                               Series BB Preferred:
                               Series A Preferred:
                               Series A-1 Preferred:
                               Series B Preferred:
                               Options and RSU Outstanding Under 2016 Stock Option Plan:   2,577
                               Options and RSU Outstanding Under Friends/Family:
                               Series B-2 Preferred Warrants:
                               Series A-2 Preferred Warrants:

Montage Capital II, L.P.       Common Stock:                                                                     Outstanding Shares:
                               Series AA-1:                                                                 Outstanding Ownership: .0 %
                               Series AA Preferred:
                               Series B-2 Preferred:
                               Series BB-2 Preferred:
                               Series BB Preferred:
                               Series A Preferred:
                               Series A-1 Preferred:
                               Series B Preferred:
                               Options and RSU Outstanding Under 2016 Stock Option Plan:
                               Options and RSU Outstanding Under Friends/Family:
                               Series B-2 Preferred Warrants: 40,718
                               Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                 Total Outstanding

Natalie McCarron        Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   781
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Nichole Hosseinzadeh    Common Stock: 2,500                                                            Outstanding Shares: 2,500
                        Series AA-1:                                                                 Outstanding Ownership: .0107%
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   6,087
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                Total Outstanding

Nick Meese              Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   8,333
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Nicole Bacher           Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   1,718
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                Total Outstanding

Nicole Chillingworth    Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   4,294
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Nini Davis              Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   2,577
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                                  Class and Number of Shares                                 Total Outstanding

Paul D. Hewson                 Common Stock:                                                                 Outstanding Shares: 65,852
Temple Hill, Strathmore Road   Series AA-1:                                                                 Outstanding Ownership: .2815%
Killney, CO DUBLIN, EI         Series AA Preferred:
                               Series B-2 Preferred:
                               Series BB-2 Preferred:
                               Series BB Preferred:
                               Series A Preferred: 60,957
                               Series A-1 Preferred: 4,895
                               Series B Preferred:
                               Options and RSU Outstanding Under 2016 Stock Option Plan:
                               Options and RSU Outstanding Under Friends/Family:
                               Series B-2 Preferred Warrants:
                               Series A-2 Preferred Warrants:

Paul J. Salem                  Common Stock:                                                                 Outstanding Shares: 304,785
Provdence Equity Partners      Series AA-1:                                                                 Outstanding Ownership: 1.303 %
50 Kennedy Plaza               Series AA Preferred: 304,785
Providence, RI 02903           Series B-2 Preferred:
                               Series BB-2 Preferred:
                               Series BB Preferred:
                               Series A Preferred:
                               Series A-1 Preferred:
                               Series B Preferred:
                               Options and RSU Outstanding Under 2016 Stock Option Plan:
                               Options and RSU Outstanding Under Friends/Family:
                               Series B-2 Preferred Warrants:
                               Series A-2 Preferred Warrants:
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     Name and Address                                Class and Number of Shares                                 Total Outstanding

Peter Fasolo                 Common Stock:                                                                 Outstanding Shares: 30,479
7 Arvida Dr                  Series AA-1:                                                                 Outstanding Ownership: .1303%
Pennington, NJ 08534         Series AA Preferred:
                             Series B-2 Preferred:
                             Series BB-2 Preferred:
                             Series BB Preferred:
                             Series A Preferred: 30,479
                             Series A-1 Preferred:
                             Series B Preferred:
                             Options and RSU Outstanding Under 2016 Stock Option Plan:
                             Options and RSU Outstanding Under Friends/Family:
                             Series B-2 Preferred Warrants:
                             Series A-2 Preferred Warrants:

PJ Nachman                   Common Stock:                                                                  Outstanding Shares: 8,230
1119 South Hayworth Avenue   Series AA-1:                                                                 Outstanding Ownership: .0352%
Los Angeles, CA 90035        Series AA Preferred:
                             Series B-2 Preferred:
                             Series BB-2 Preferred:
                             Series BB Preferred:
                             Series A Preferred: 7,619
                             Series A-1 Preferred: 611
                             Series B Preferred:
                             Options and RSU Outstanding Under 2016 Stock Option Plan:
                             Options and RSU Outstanding Under Friends/Family:
                             Series B-2 Preferred Warrants:
                             Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                 Total Outstanding

Preston Grochmal        Common Stock: 430                                                              Outstanding Shares: 430
                        Series AA-1:                                                                 Outstanding Ownership: .0018%
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Rachel Hogan            Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   3,077
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                Total Outstanding

Rachel O'Neill          Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:
                        Options and RSU Outstanding Under Friends/Family: 1,000
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Reanna Nealon           Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   1,718
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                               Class and Number of Shares                                 Total Outstanding

Rheta and Bernard Resnick   Common Stock:                                                                     Outstanding Shares:
                            Series AA-1:                                                                 Outstanding Ownership: .0 %
                            Series AA Preferred:
                            Series B-2 Preferred:
                            Series BB-2 Preferred:
                            Series BB Preferred:
                            Series A Preferred:
                            Series A-1 Preferred:
                            Series B Preferred:
                            Options and RSU Outstanding Under 2016 Stock Option Plan:
                            Options and RSU Outstanding Under Friends/Family: 5,000
                            Series B-2 Preferred Warrants:
                            Series A-2 Preferred Warrants:

Rich Goldman                Common Stock:                                                                 Outstanding Shares: 41,158
10 Quintard Ave             Series AA-1:                                                                 Outstanding Ownership: .176 %
Old Greenwich, CT 06870     Series AA Preferred:
                            Series B-2 Preferred:
                            Series BB-2 Preferred:
                            Series BB Preferred:
                            Series A Preferred: 38,098
                            Series A-1 Preferred: 3,060
                            Series B Preferred:
                            Options and RSU Outstanding Under 2016 Stock Option Plan:
                            Options and RSU Outstanding Under Friends/Family:
                            Series B-2 Preferred Warrants:
                            Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                 Total Outstanding

Richie Salazar          Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   1,718
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Rick Seiders            Common Stock:                                                                 Outstanding Shares: 16,462
2402 Pickwick Lane      Series AA-1:                                                                 Outstanding Ownership: .0704%
Austin, TX 78746        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred: 15,239
                        Series A-1 Preferred: 1,223
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                 Total Outstanding

Rob Sweeney             Common Stock:                                                                 Outstanding Shares: 16,463
110 Meadow Rd           Series AA-1:                                                                 Outstanding Ownership: .0704%
Riverside, CT 06878     Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred: 15,239
                        Series A-1 Preferred: 1,224
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Robyn Daniels           Common Stock:                                                                     Outstanding Shares:
                        Series AA-1:                                                                 Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   885
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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    Name and Address                                  Class and Number of Shares                                 Total Outstanding

Roger B. and Ann K. McNamee   Common Stock:                                                                 Outstanding Shares: 60,957
Trust u/t/a/d 3/27/97         Series AA-1:                                                                 Outstanding Ownership: .2606%
300 Olive Hill Ln             Series AA Preferred:
Woodside, CA 94062            Series B-2 Preferred:
                              Series BB-2 Preferred:
                              Series BB Preferred:
                              Series A Preferred: 60,957
                              Series A-1 Preferred:
                              Series B Preferred:
                              Options and RSU Outstanding Under 2016 Stock Option Plan:
                              Options and RSU Outstanding Under Friends/Family:
                              Series B-2 Preferred Warrants:
                              Series A-2 Preferred Warrants:

Ron Reyes                     Common Stock:                                                                     Outstanding Shares:
                              Series AA-1:                                                                 Outstanding Ownership: .0 %
                              Series AA Preferred:
                              Series B-2 Preferred:
                              Series BB-2 Preferred:
                              Series BB Preferred:
                              Series A Preferred:
                              Series A-1 Preferred:
                              Series B Preferred:
                              Options and RSU Outstanding Under 2016 Stock Option Plan:
                              Options and RSU Outstanding Under Friends/Family: 500
                              Series B-2 Preferred Warrants:
                              Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                 Total Outstanding

Rosie O'Neill           Common Stock: 4,583,350                                                       Outstanding Shares: 4,583,350
1611 Old Oak Rd         Series AA-1:                                                                 Outstanding Ownership: 19.5945%
Los Angeles, CA 90049   Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Ross Moncur             Common Stock:                                                                      Outstanding Shares:
2006 Watermere Lane     Series AA-1:                                                                  Outstanding Ownership: .0 %
Windermere, FL 33905    Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan: 75,000
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                             Class and Number of Shares                                 Total Outstanding

Ryan Nelson               Common Stock:                                                                     Outstanding Shares:
                          Series AA-1:                                                                 Outstanding Ownership: .0 %
                          Series AA Preferred:
                          Series B-2 Preferred:
                          Series BB-2 Preferred:
                          Series BB Preferred:
                          Series A Preferred:
                          Series A-1 Preferred:
                          Series B Preferred:
                          Options and RSU Outstanding Under 2016 Stock Option Plan: 61,483
                          Options and RSU Outstanding Under Friends/Family:
                          Series B-2 Preferred Warrants:
                          Series A-2 Preferred Warrants:

S&E Trust                 Common Stock: 38,462                                                          Outstanding Shares: 38,462
Lotman Management LLC     Series AA-1:                                                                 Outstanding Ownership: .1644%
100 Front St, Ste 525 W   Series AA Preferred:
Conshohocken, PA 19428    Series B-2 Preferred:
                          Series BB-2 Preferred:
                          Series BB Preferred:
                          Series A Preferred:
                          Series A-1 Preferred:
                          Series B Preferred:
                          Options and RSU Outstanding Under 2016 Stock Option Plan:
                          Options and RSU Outstanding Under Friends/Family:
                          Series B-2 Preferred Warrants:
                          Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                 Total Outstanding

Sabrina Orlando         Common Stock:                                                                      Outstanding Shares:
                        Series AA-1:                                                                  Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   1,000
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Samantha Sturges        Common Stock:                                                                      Outstanding Shares:
                        Series AA-1:                                                                  Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   1,250
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                                 Class and Number of Shares                                  Total Outstanding

Sandeep Singh                 Common Stock:                                                                      Outstanding Shares:
                              Series AA-1:                                                                  Outstanding Ownership: .0 %
                              Series AA Preferred:
                              Series B-2 Preferred:
                              Series BB-2 Preferred:
                              Series BB Preferred:
                              Series A Preferred:
                              Series A-1 Preferred:
                              Series B Preferred:
                              Options and RSU Outstanding Under 2016 Stock Option Plan:   4,294
                              Options and RSU Outstanding Under Friends/Family:
                              Series B-2 Preferred Warrants:
                              Series A-2 Preferred Warrants:

Sandra G. Malamed Sep Prop.   Common Stock: 38,462                                                           Outstanding Shares: 38,462
Trust                         Series AA-1:                                                                  Outstanding Ownership: .1644%
9437 Oakmoore Road            Series AA Preferred:
Los Angeles, CA 90035         Series B-2 Preferred:
                              Series BB-2 Preferred:
                              Series BB Preferred:
                              Series A Preferred:
                              Series A-1 Preferred:
                              Series B Preferred:
                              Options and RSU Outstanding Under 2016 Stock Option Plan:
                              Options and RSU Outstanding Under Friends/Family:
                              Series B-2 Preferred Warrants:
                              Series A-2 Preferred Warrants:
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    Name and Address                           Class and Number of Shares                               Total Outstanding

Sarah Abu Shanab       Common Stock:                                                                    Outstanding Shares:
                       Series AA-1:                                                                Outstanding Ownership: .0 %
                       Series AA Preferred:
                       Series B-2 Preferred:
                       Series BB-2 Preferred:
                       Series BB Preferred:
                       Series A Preferred:
                       Series A-1 Preferred:
                       Series B Preferred:
                       Options and RSU Outstanding Under 2016 Stock Option Plan: 19,524
                       Options and RSU Outstanding Under Friends/Family:
                       Series B-2 Preferred Warrants:
                       Series A-2 Preferred Warrants:

Sarah Kwak             Common Stock:                                                                    Outstanding Shares:
                       Series AA-1:                                                                Outstanding Ownership: .0 %
                       Series AA Preferred:
                       Series B-2 Preferred:
                       Series BB-2 Preferred:
                       Series BB Preferred:
                       Series A Preferred:
                       Series A-1 Preferred:
                       Series B Preferred:
                       Options and RSU Outstanding Under 2016 Stock Option Plan: 17,000
                       Options and RSU Outstanding Under Friends/Family:
                       Series B-2 Preferred Warrants:
                       Series A-2 Preferred Warrants:
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     Name and Address                             Class and Number of Shares                                 Total Outstanding

Saralyn and Larry Isrow   Common Stock:                                                                      Outstanding Shares:
                          Series AA-1:                                                                  Outstanding Ownership: .0 %
                          Series AA Preferred:
                          Series B-2 Preferred:
                          Series BB-2 Preferred:
                          Series BB Preferred:
                          Series A Preferred:
                          Series A-1 Preferred:
                          Series B Preferred:
                          Options and RSU Outstanding Under 2016 Stock Option Plan:
                          Options and RSU Outstanding Under Friends/Family: 1,000
                          Series B-2 Preferred Warrants:
                          Series A-2 Preferred Warrants:

Saverio Amato             Common Stock:                                                                      Outstanding Shares:
                          Series AA-1:                                                                  Outstanding Ownership: .0 %
                          Series AA Preferred:
                          Series B-2 Preferred:
                          Series BB-2 Preferred:
                          Series BB Preferred:
                          Series A Preferred:
                          Series A-1 Preferred:
                          Series B Preferred:
                          Options and RSU Outstanding Under 2016 Stock Option Plan:   2,577
                          Options and RSU Outstanding Under Friends/Family:
                          Series B-2 Preferred Warrants:
                          Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                  Total Outstanding

SC Partners LLC         Common Stock:                                                                  Outstanding Shares: 25,943
                        Series AA-1:                                                                  Outstanding Ownership: .1109%
                        Series AA Preferred:
                        Series B-2 Preferred: 1,249
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred: 22,859
                        Series A-1 Preferred: 1,835
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Sephora Noorman         Common Stock:                                                                      Outstanding Shares:
                        Series AA-1:                                                                  Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   2,194
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                  Total Outstanding

Sheeraz Shaik           Common Stock:                                                                      Outstanding Shares:
                        Series AA-1:                                                                  Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   4,294
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Shelly Fisher           Common Stock: 38,462                                                           Outstanding Shares: 41,551
1206 Farview Rd         Series AA-1:                                                                  Outstanding Ownership: .1776%
Villanova, PA 19085     Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred: 3,089
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                  Total Outstanding

SOLDAV, LLC             Common Stock: 384,616                                                          Outstanding Shares: 384,616
145 Central Park West   Series AA-1:                                                                  Outstanding Ownership: 1.6443%
New York, NY 10023      Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Soo Yi                  Common Stock:                                                                       Outstanding Shares:
                        Series AA-1:                                                                   Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   500
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                  Total Outstanding

SR Sugarfina LLC        Common Stock:                                                                  Outstanding Shares: 27,688
                        Series AA-1: 16,439                                                           Outstanding Ownership: .1184%
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred: 11,249
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

SR Sugarfina, LLC       Common Stock:                                                                  Outstanding Shares: 171,444
                        Series AA-1:                                                                  Outstanding Ownership: .7329%
                        Series AA Preferred: 171,444
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                             Class and Number of Shares                                 Total Outstanding

Steven Borse              Common Stock:                                                                      Outstanding Shares:
528 1/2 N Lucia Ave       Series AA-1:                                                                  Outstanding Ownership: .0 %
Redondo Beach, CA 90277   Series AA Preferred:
                          Series B-2 Preferred:
                          Series BB-2 Preferred:
                          Series BB Preferred:
                          Series A Preferred:
                          Series A-1 Preferred:
                          Series B Preferred:
                          Options and RSU Outstanding Under 2016 Stock Option Plan: 17,174
                          Options and RSU Outstanding Under Friends/Family:
                          Series B-2 Preferred Warrants:
                          Series A-2 Preferred Warrants:

Steven Carvajal           Common Stock:                                                                      Outstanding Shares:
                          Series AA-1:                                                                  Outstanding Ownership: .0 %
                          Series AA Preferred:
                          Series B-2 Preferred:
                          Series BB-2 Preferred:
                          Series BB Preferred:
                          Series A Preferred:
                          Series A-1 Preferred:
                          Series B Preferred:
                          Options and RSU Outstanding Under 2016 Stock Option Plan:   8,587
                          Options and RSU Outstanding Under Friends/Family:
                          Series B-2 Preferred Warrants:
                          Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                  Total Outstanding

Steven Lewinstein       Common Stock:                                                                  Outstanding Shares: 16,463
44 School St, 10th Fl   Series AA-1:                                                                  Outstanding Ownership: .0704%
Boston, MA 02196        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred: 15,239
                        Series A-1 Preferred: 1,224
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Stuart Calof            Common Stock:                                                                      Outstanding Shares:
                        Series AA-1:                                                                  Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:
                        Options and RSU Outstanding Under Friends/Family: 1,000
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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    Name and Address                           Class and Number of Shares                                 Total Outstanding

Susan Tang             Common Stock:                                                                      Outstanding Shares:
                       Series AA-1:                                                                  Outstanding Ownership: .0 %
                       Series AA Preferred:
                       Series B-2 Preferred:
                       Series BB-2 Preferred:
                       Series BB Preferred:
                       Series A Preferred:
                       Series A-1 Preferred:
                       Series B Preferred:
                       Options and RSU Outstanding Under 2016 Stock Option Plan:   2,500
                       Options and RSU Outstanding Under Friends/Family:
                       Series B-2 Preferred Warrants:
                       Series A-2 Preferred Warrants:

Sydney More            Common Stock:                                                                      Outstanding Shares:
                       Series AA-1:                                                                  Outstanding Ownership: .0 %
                       Series AA Preferred:
                       Series B-2 Preferred:
                       Series BB-2 Preferred:
                       Series BB Preferred:
                       Series A Preferred:
                       Series A-1 Preferred:
                       Series B Preferred:
                       Options and RSU Outstanding Under 2016 Stock Option Plan:   966
                       Options and RSU Outstanding Under Friends/Family:
                       Series B-2 Preferred Warrants:
                       Series A-2 Preferred Warrants:
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     Name and Address                                 Class and Number of Shares                                  Total Outstanding

Tamim Mourad                  Common Stock:                                                                  Outstanding Shares: 54,470
641 N Las Casas Ave           Series AA-1: 11,492                                                           Outstanding Ownership: .2329%
Pacific Palisades, CA 90272   Series AA Preferred: 30,479
                              Series B-2 Preferred:
                              Series BB-2 Preferred: 12,499
                              Series BB Preferred:
                              Series A Preferred:
                              Series A-1 Preferred:
                              Series B Preferred:
                              Options and RSU Outstanding Under 2016 Stock Option Plan:
                              Options and RSU Outstanding Under Friends/Family:
                              Series B-2 Preferred Warrants:
                              Series A-2 Preferred Warrants:

Tari Huddleston               Common Stock:                                                                      Outstanding Shares:
135 Flowerfield Ln            Series AA-1:                                                                  Outstanding Ownership: .0 %
La Habra Heights, CA 90631    Series AA Preferred:
                              Series B-2 Preferred:
                              Series BB-2 Preferred:
                              Series BB Preferred:
                              Series A Preferred:
                              Series A-1 Preferred:
                              Series B Preferred:
                              Options and RSU Outstanding Under 2016 Stock Option Plan: 15,000
                              Options and RSU Outstanding Under Friends/Family:
                              Series B-2 Preferred Warrants:
                              Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                 Total Outstanding

Teresa Cordero          Common Stock:                                                                      Outstanding Shares:
                        Series AA-1:                                                                  Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   166
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Tess Heilpern           Common Stock:                                                                      Outstanding Shares:
                        Series AA-1:                                                                  Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   229
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                               Class and Number of Shares                                  Total Outstanding

The David M. Solomon 2011   Common Stock:                                                                  Outstanding Shares: 76,196
Family Trust                Series AA-1:                                                                  Outstanding Ownership: .3257%
145 Central Park West, 4C   Series AA Preferred: 76,196
New York, NY 10023          Series B-2 Preferred:
                            Series BB-2 Preferred:
                            Series BB Preferred:
                            Series A Preferred:
                            Series A-1 Preferred:
                            Series B Preferred:
                            Options and RSU Outstanding Under 2016 Stock Option Plan:
                            Options and RSU Outstanding Under Friends/Family:
                            Series B-2 Preferred Warrants:
                            Series A-2 Preferred Warrants:

The Dennis B. Phelps Jr.    Common Stock:                                                                  Outstanding Shares: 688,814
Revocable Living Trust      Series AA-1:                                                                  Outstanding Ownership: 2.9448%
PO Box 2888                 Series AA Preferred:
San Francisco, CA 94126     Series B-2 Preferred:
                            Series BB-2 Preferred:
                            Series BB Preferred:
                            Series A Preferred: 688,814
                            Series A-1 Preferred:
                            Series B Preferred:
                            Options and RSU Outstanding Under 2016 Stock Option Plan:
                            Options and RSU Outstanding Under Friends/Family:
                            Series B-2 Preferred Warrants:
                            Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                  Total Outstanding

The LI2 Trust           Common Stock:                                                                  Outstanding Shares: 30,479
                        Series AA-1:                                                                  Outstanding Ownership: .1303%
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred: 30,479
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Tony Scheinman          Common Stock:                                                                      Outstanding Shares:
                        Series AA-1:                                                                  Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:
                        Options and RSU Outstanding Under Friends/Family: 500
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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     Name and Address                                   Class and Number of Shares                                  Total Outstanding

Trently Holdings                Common Stock:                                                                  Outstanding Shares: 76,196
Attn David Kaplan               Series AA-1:                                                                  Outstanding Ownership: .3257%
2000 Ave of the Stars, 9th Fl   Series AA Preferred: 76,196
Los Angeles, CA 90067           Series B-2 Preferred:
                                Series BB-2 Preferred:
                                Series BB Preferred:
                                Series A Preferred:
                                Series A-1 Preferred:
                                Series B Preferred:
                                Options and RSU Outstanding Under 2016 Stock Option Plan:
                                Options and RSU Outstanding Under Friends/Family:
                                Series B-2 Preferred Warrants:
                                Series A-2 Preferred Warrants:

Trey Watkins                    Common Stock:                                                                      Outstanding Shares:
                                Series AA-1:                                                                  Outstanding Ownership: .0 %
                                Series AA Preferred:
                                Series B-2 Preferred:
                                Series BB-2 Preferred:
                                Series BB Preferred:
                                Series A Preferred:
                                Series A-1 Preferred:
                                Series B Preferred:
                                Options and RSU Outstanding Under 2016 Stock Option Plan:
                                Options and RSU Outstanding Under Friends/Family: 500
                                Series B-2 Preferred Warrants:
                                Series A-2 Preferred Warrants:
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     Name and Address                               Class and Number of Shares                                  Total Outstanding

Valley Girl Ventures LLC    Common Stock: 38,462                                                           Outstanding Shares: 58,013
1720 Washington Ave         Series AA-1:                                                                  Outstanding Ownership: .248 %
Santa Monica, CA 90403      Series AA Preferred:
                            Series B-2 Preferred:
                            Series BB-2 Preferred:
                            Series BB Preferred:
                            Series A Preferred: 15,239
                            Series A-1 Preferred: 4,312
                            Series B Preferred:
                            Options and RSU Outstanding Under 2016 Stock Option Plan:
                            Options and RSU Outstanding Under Friends/Family:
                            Series B-2 Preferred Warrants:
                            Series A-2 Preferred Warrants:

W. David Knight             Common Stock: 19,231                                                           Outstanding Shares: 20,776
4278 Woodland Brook Dr SE   Series AA-1:                                                                  Outstanding Ownership: .0888%
Atlanta, GA 30339           Series AA Preferred:
                            Series B-2 Preferred:
                            Series BB-2 Preferred:
                            Series BB Preferred:
                            Series A Preferred:
                            Series A-1 Preferred: 1,545
                            Series B Preferred:
                            Options and RSU Outstanding Under 2016 Stock Option Plan:
                            Options and RSU Outstanding Under Friends/Family:
                            Series B-2 Preferred Warrants:
                            Series A-2 Preferred Warrants:
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     Name and Address                           Class and Number of Shares                                  Total Outstanding

WDK Family Trust        Common Stock: 19,231                                                           Outstanding Shares: 20,776
                        Series AA-1:                                                                  Outstanding Ownership: .0888%
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred: 1,545
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:

Zainub Naqvi            Common Stock:                                                                      Outstanding Shares:
                        Series AA-1:                                                                  Outstanding Ownership: .0 %
                        Series AA Preferred:
                        Series B-2 Preferred:
                        Series BB-2 Preferred:
                        Series BB Preferred:
                        Series A Preferred:
                        Series A-1 Preferred:
                        Series B Preferred:
                        Options and RSU Outstanding Under 2016 Stock Option Plan:   937
                        Options and RSU Outstanding Under Friends/Family:
                        Series B-2 Preferred Warrants:
                        Series A-2 Preferred Warrants:
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